




Form: Dismiss TRAP 42.1(a)(1)












COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS



RICHARD SOUTHERN,
INDIVIDUALLY AND ON BEHALF
OF THE ESTATE OF GALEN
SOUTHERN, DECEASED, AND ALL
OTHER WRONGFUL DEATH
BENEFICIARIES,


                            Appellants,


v.


R&amp;M MIXED BEVERAGE
CONSULTANTS D/B/A
MAVERICK'S BAR AND GRILL,


                            Appellee.

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No. 08-03-00355-CV


Appeal from the


346th Judicial District Court


of El Paso County, Texas


(TC# 2003-1766)




M E M O R A N D U M    O P I N I O N


	Pending before the Court is the joint motion to dismiss this appeal pursuant to Tex.
R. App. P. 42.1(a)(2), which states:

	(a) On Motion or By Agreement.  The appellate court may dispose of an appeal as
follows:

		

		(2) By Agreement.  In accordance with an agreement signed by the parties or
their attorneys and filed with the clerk, the court may:

			



			(A) render judgment effectuating the parties' agreements; 


			(B) set aside the trial court's judgment without regard to the merits and
remand the case to the trial court for rendition of judgment in
accordance with the agreements; or


			(C) abate the appeal and permit proceedings in the trial court to
effectuate the agreement.


	The parties have complied with the requirements of Rule 42.1(a)(2).  The Court has
considered this cause on the joint motion and concludes the motion should be granted and
the appeal should be dismissed.  We therefore dismiss the appeal.

September 10, 2003


						_______________________________________

						RICHARD BARAJAS, Chief Justice



Before Panel No. 4

Barajas, C.J., Larsen, and McClure, JJ.






